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    4                                                                  u s.DIGTRICT COI
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     5                                                        B#                                          i
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     6'                               UNITED STATES DISTRICT COURT                                        I
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     7                                        DISTR ICT O F N EVA D A                                     i
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      ,       UNITED STATESOFAM ERICAS                    )
      :                                                   )                                               l
     94
      l                          Plaintiff,               )
                                                          )                                               !
    10               v.                                   )        2:1O-CR-I85-KJD (RJJ)
                                                          )                                               I
    11 ARNULFO FAHUR-GA STELUM ,                          )
                                                          )                                               1
    12                           Defendant.               )
    13                              PRELIM INARY ORDER OF FORFEITURE                                      i
    14               This Courttindsthaton Septem ber 7,2010,defendantA RN ULFO FA H UR -G A STELUM
                                                                                                          I
    15 pled guilty to Count One of a Seven-countCrim inalIndictm entcharging him w ith Conspiracy to
    l6. DistributeaControlled SubstanceinviolationofTitle21,UnitedStatesCode,Sections841(a)(1)and ;
                                                                                                          :
    17 (b)(1)(B)(viii)and 846.                                                                            .
    18'              This Courtfinds defendantA RN ULFO FA HU R-G A STELUM agreed to the forfeiture of
    19 property setforth in ForfeitureAllegation oftheCrim inallndictment    .
                                                                                                          i

    20               ThisCourtfinds,pursuantto Fed.R.Crim.P.32.2(b)(l)and (2),the United Statesof :
    21 Americahasshowntherequisitenexusbetween property setforth intheForfeitureAllegation ofthe
    22 Crim inal Indictm entand the offense to w hich defendant A RN U LFO FAH U R-GA STELU M pled i
    23 guilty.
    24               ThefollowingassetsaresubjecttolbrfeiturepursuanttoTitle21,UnitedStatesCode,Section
    25 853(a)(1):
    26 ...                                                                                                j

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                  Case 2:10-cr-00185-KJD-RJJ         Document 93       Filed 09/07/10     Page 2 of 3
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         l/                        a)    $3,760.00 inUnitedstatescurrencyseizedfrom 6012 SugarCreek Drivc,North
          I$                                                                                                           I
         2 'I                                                                                                          I
          j!                             LasVegas,N V ;
          I!
         31I                       b)    $9,200.00 in United StatesCurrency seized from 5041 lndigo Gorge Ave,Las
         4.
          ''                             Vegas, N V:and                                                           j
                                                                                                                  I
              '                                                                                                        j
         5.'                       c)    $1.400.00inUnitedStatesCurrencyseizedfrom 5041IndigoGorgeAve,Las i
          I!                                                                                                           I
         611
          1.                             Vegas,xv.                                                                     i
          i'
         7'
          jI        ThisCourtfindstheUnitedStatesofAmericaisnow entitledtosandshould,reducethe
         8!
          E!
           I RforemcntionedWOPCIV tothePOSSCSSiOnOftheUnitedStatesOfAmerica.                   I
          I                                                                                    I
         9                  NOW THEREFORE,                                                                             I
                                                IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thatthe j
        10        United States ofA m erica should seize the aforem entioned property,
        11i'
           ,                IT IS FU RTH ER O RD ER ED , A D JUD G ED ,AN D D ECREED allright,titlesand interestof
          1l
        12ii ARNULFO FAHUR-GASTELUM intheaforementioned property isforfeitedand isvestedinthe
          ii
        131i United StatesofAm ericaandshallbe safely heldbytheUnited StatesofAmericauntilfurtherorder
          Ii
        1411
           I ofthecourt        .
                                                                                                       :
              I                                                                                                        !
        15 I
           l                IT IS FU RTHER ORD ERED ,ADJUDGED,AND DECREED theUnited StatesofAm erica I
                                                                                                     i
        16 shallpublish foratleastthirty (30)consecutivedayson theofticialinternetgovernmentforfeiture I
           I                                                                                              !
        171I website,urwav.forfeiture.uov,noticeofthisOrder,which shalldescribetheforfeitedpropertysstate
          II                                                                                              '
        181!
           ! thetimeundertheapplicablestatutewhenapetitioncontestingtheforfeituremustbetiled, and state i .
          l.
        l9il thenam eand contactinform ation forthe governm entattorney to be served w ith thepetition,pursuant .
          II                                                                                                           .
        20 I to Fed R.Crim.P.32.2(b)(6)andTitle21sUnitedStatesCode,Section853(n)(2).
                        .

          i
        21I                 IT ISFURTHER ORDERED, ADJU D GED ,A N D D ECREED apetition,ifany,m ustbefiled
        22I with the C lerk ofthe Court,333 lwasV egas Boulevard South,Las Vegas,N evada 89101.                        1
                                                                                                                       .
          1i                                                                                                           '
        23                  IT IS FURTH ER O RDERED ,A DJU D GED,A N D D ECREED a copy ofthe petition,ifany,
                                                                                                                       !
        24        shallbe served upon the A sset Forfeiture Attorney of the U nited States A ttorney's Oftice at the
        25 i follow ing address atthe tim e oft'
                                               iling:
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        26 ...
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              Case 2:10-cr-00185-KJD-RJJ        Document 93       Filed 09/07/10     Page 3 of 3
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       2                    DANIEL D,HOLLINGSW ORTH
                                                                                                                 2
                                                                                                                 I
          i                 AssistantunitedstatesAttorney                                                        ,
                                                                                                                 I
     2'                     M ICHA EL A .H UM PHREYS
      i                     AssistantUnited StatesAttorney
     31I                    Lloyd D .G eorge U nited StatesCourthouse
      i:                    333LasVegasBoulevardSouth,Suite5000
     4,                     Las vegas.N evada 89101.
      !I
     51
                      IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenoticedescribed herein
     6                                                                                                           !
              need notbe published in the eventa D eclaration ofForfeiture is issued by the appropriate agency
     7                                                                                                           i
              following publication ofnotice ofseizure and intentto administratively forfeitthe'above described I
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     8I                                                                                                          I
      li assets.                                                                                                 i
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       I              DATED this C<>dayof            .
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